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                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

JANE DOE,                                            )
                                                     )
                       Plaintiff,                    )       No. 23-cv-623
                                                     )
       v.                                            )       Honorable Robert W. Gettleman
                                                     )
CITY OF OTTAWA, et al.,                              )
                                                     )
                       Defendants.                   )

                        DEFENDANT LESS’ MOTION TO
             PARTIALLY DISMISS PLAINTIFF’S AMENDED COMPLAINT

       Defendant, James Less, by and through his attorney, John O’Driscoll, Darcy Proctor, and

Andrew O’Donnell, Tressler LLP, hereby move to dismiss Count VIII of Plaintiff’s Amended

Complaint, in part, for failing to state a claim against him, as fully set forth in their Memorandum

of Law in Support of his Motion to Partially Dismiss. Defendant Less respectfully requests that

this Court grant this Motion in his favor.

Dated: May 17, 2023
                                                             Respectfully submitted,

                                                             /s/ Andrew O’Donnell

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                               CERTIFICATE OF SERVICE

     The undersigned certifies that on May 17, 2023, 2023, he electronically filed the foregoing
document with the Clerk of the Court for the Northern District of Illinois by using the CM/ECF
system. All participants in the case are registered CM/ECF users who will be served by the
CM/ECF system.


                                                     /s/ Andrew O’Donnell
